              Case 2:23-cv-01495-JHC Document 139 Filed 01/09/24 Page 1 of 2




 1                                                               THE HONORABLE JOHN H. CHUN

 2

 3

 4

 5

 6

 7

 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9
                                          AT SEATTLE
10
     FEDERAL TRADE COMMISSION, et al.,                     Case No. 2:23-cv-01495-JHC
11
                            Plaintiffs,
12                                                         NOTICE OF CHANGE OF ADDRESS
            v.
13                                                         (Clerk’s Action Required)

14   AMAZON.COM, INC., a corporation,

15                          Defendant.
16

17   TO:            THE CLERK OF THE COURT
18   AND TO:        ALL PARTIES AND COUNSEL OF RECORD
19

20          PLEASE BE ADVISED that Patty A. Eakes and Molly A. Terwilliger of Morgan, Lewis
21   & Bockius LLP, counsel of record for Defendant Amazon.com, Inc. in the above-captioned matter,
22   make the following update to the contact information on file with this court, effective immediately,
23   and respectfully request that the docket be updated accordingly:
24   //
25   //
26   //

     NOTICE OF CHANGE OF ADDRESS - 1                                      MORGAN, LEWIS & BOCKIUS LLP
     (Case No. 2:23-cv-01495-JHC)                                                      ATTORNEYS AT LAW
                                                                                1301 SECOND AVENUE, SUITE 3000
                                                                                  SEATTLE, WASHINGTON 98101
                                                                            TEL +1.206.274.6400 FAX +1.206.274.6401
            Case 2:23-cv-01495-JHC Document 139 Filed 01/09/24 Page 2 of 2




 1               Patty A. Eakes
                 Molly A. Terwilliger
 2               MORGAN, LEWIS & BOCKIUS LLP
                 1301 Second Avenue, Suite 3000
 3               Seattle, WA 98101
 4               Phone: (206) 274-6400
                 Fax: (206) 274-6401
 5               Email: patty.eakes@morganlewis.com
                         molly.terwilliger@morganlewis.com
 6

 7         DATED this 9th day of January, 2024.

 8
                                                  MORGAN, LEWIS & BOCKIUS LLP
 9
                                                  By: s/ Patty A. Eakes
10
                                                  Patty A. Eakes, WSBA #18888
11                                                Molly A. Terwilliger, WSBA #28449
                                                  1301 Second Avenue, Suite 3000
12                                                Seattle, WA 98101
                                                  Phone: (206) 274-6400
13                                                Email: patty.eakes@morganlewis.com
                                                          molly.terwilliger@morganlewis.com
14
                                                  Attorneys for Defendant Amazon.com, Inc.
15

16

17
18

19

20

21

22

23

24

25

26

     NOTICE OF CHANGE OF ADDRESS - 2                              MORGAN, LEWIS & BOCKIUS LLP
     (Case No. 2:23-cv-01495-JHC)                                              ATTORNEYS AT LAW
                                                                        1301 SECOND AVENUE, SUITE 3000
                                                                          SEATTLE, WASHINGTON 98101
                                                                    TEL +1.206.274.6400 FAX +1.206.274.6401
